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14   and OTTOMOTTO LLC

15                                UNITED STATES DISTRICT COURT
16                             NORTHERN DISTRICT OF CALIFORNIA
17                                      SAN FRANCISCO DIVISION
18   WAYMO LLC,                                           Case No.     3:17-cv-00939-WHA
19                         Plaintiff,                     DECLARATION OF MICHELLE
                                                          YANG IN SUPPORT OF
20          v.                                            DEFENDANTS’ ADMINISTRATIVE
                                                          MOTION TO FILE UNDER SEAL
21   UBER TECHNOLOGIES, INC.,                             PORTIONS OF THEIR MOTION TO
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                    COMPEL 30(B)(6) TOPICS AND
22                                                        EXHIBITS THERETO
                           Defendants.
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     YANG DECLARATION ISO DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     Case No. 3:17-cv-00939-WHA
     sf-3816349
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 1          I, Michelle Yang, declare as follows:

 2          1.      I am an attorney at the law firm of Morrison & Foerster LLP. I make this

 3   declaration based upon matters within my own personal knowledge and if called as a witness, I

 4   could and would competently testify to the matters set forth herein. I make this declaration in

 5   support of Defendants’ Administrative Motion to File Under Seal Portions of Their Motion to

 6   Compel 30(b)(6) Topics and Exhibits Thereto.

 7          2.      I have reviewed the following documents and confirmed that only the portions

 8   identified below merit sealing:

 9
     Document                          Portions to Be Filed Under Seal           Designating Party
10
     Motion to Compel 30(b)(6)               Highlighted Portions                 Plaintiff (green)
11   Topics (“Motion”)
12
     Declaration of Esther                   Highlighted Portions                 Plaintiff (green)
13   Chang
14   Exhibits 1, 6, 7 & 8                    Highlighted Portions                 Plaintiff (green)
15   Exhibits 2-5, 9-12                             Entireties                        Plaintiff
16

17          3.      The green-highlighted portions of the Motion, the Declaration of Esther Chang,

18   and Exhibits 1, 6, 7 and 8, as well as the entireties of Exhibits 2-5 & 9-12 contain information that

19   has been designated “Highly Confidential – Attorneys’ Eyes Only” by Waymo in accordance

20   with the Patent Local Rule 2-2 Interim Model Protective Order (“Protective Order”), which the

21   parties have agreed governs this case (Transcript of 3/16/2017 Hearing, page 6). Defendants file

22   this material under seal in accordance with Paragraph 14.4 of the Protective Order.

23          4.      Defendants’ request to seal is narrowly tailored to the portions of the Motion and

24   its supporting papers that merit sealing.

25          I declare under penalty of perjury that the foregoing is true and correct. Executed this

26   20th day of August, 2017 in Washington, D.C.

27                                                                  /s/ Michelle Yang
                                                                        Michelle Yang
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     YANG DECLARATION ISO DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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     sf-3816349
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 1                               ATTESTATION OF E-FILED SIGNATURE

 2          I, Arturo J. González, am the ECF User whose ID and password are being used to file this

 3   Declaration. In compliance with General Order 45, X.B., I hereby attest that Michelle Yang has

 4   concurred in this filing.

 5
     Dated: August 20, 2017                                  /s/ Arturo J. González
 6                                                               Arturo J. González

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     YANG DECLARATION ISO DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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     sf-3816349
